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8                          UNITED STATES DISTRICT COURT
9                        SOUTHERN DISTRICT OF CALIFORNIA
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11   BORREGO COMMUNITY                       Case No.: 3:22-cv-01056-AJB-AGS
     HEALTH FOUNDATION, a
12   California nonprofit public benefit     ORDER GRANTING JOINT MOTION
     corporation,                            TO EXTEND TIME TO FILE
13                                           RESPONSE TO COMPLAINT
                            Plaintiff,
14   v.
15   KAREN HEBETS, an individual; et
     al,
16                    Defendants.
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             Upon review of the Joint Motion to Extend Time to File Response to Complaint
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     filed by Plaintiff and Defendants Aram Arakelyan, D.D.S., New Millennium Dental
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     Group of Aram Arakelyan, Inc., Alborz Mehdizadeh, D.D.S., Alborz Mehdizadeh,
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     Inc., and Jilbert Bakramian, D.D.S. (collectively, “Defendants”), and good cause
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     appearing, the Motion is hereby GRANTED. Defendants must file an answer, or
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     otherwise respond, to the Complaint on or before October 4, 2022.
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             IT IS SO ORDERED.
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     Dated: September 1, 2022
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          ORDER GRANTING JOINT MOTION TO EXTEND TIME TO FILE RESPONSE TO COMPLAINT
